                  Case 22-60043 Document                      Filed in TXSB on 05/26/22 Page 1 of 3
                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     InfoW, LLC and IWHealth, LLC
Re:    Debtor                                                 Case No.: 22−60020
                                                              Chapter: 11




                               NOTICE OF FILING OF OFFICIAL TRANSCRIPT



An official transcript has been filed in this case and it may contain information protected under the E−Government
Act of 2002, and Fed. R. Bank. P. 9037.

Transcripts will be electronically available on PACER to the public 90 days after their filing with the court. To
comply with privacy requirements of Fed. R. Bank. P. 9037, the parties must ensure that certain protected information
is redacted from transcripts prior to their availability on PACER.

If redaction is necessary, the parties must file a statement of redaction listing the items to be redacted, citing the
transcript's docket number, the item's location by page and line, and including only the following portions of the
protected information. This statement must be filed within 21 days of the transcript being filed. A suggested form for
the statement of redaction is available at http://www.txs.uscourts.gov.

      • the last four digits of the social security number or taxpayer identification number;
      • the year of the individual's birth;
      • the minor's initials;
      • the last four digits of the financial account number; and
      • the city and state of the home address.

Any additional redaction requires a separate motion and Court approval.

A party may review the transcript at the Clerk's Office public terminals or purchase it by following the instruction on
our website at http://www.txs.uscourts.gov or by calling (361) 788−5000 . A party is only responsible for reviewing
the:

      • opening and closing statements made on the party's behalf;
      • statements of the party;
      • testimony of any witness called by the party; and
      • any other portion of the transcript as ordered by the court.




Redaction is your responsibility. The Clerk, court reporter, or transcriber will not review this transcript for
compliance.



                                                              Nathan Ochsner
                                                              Clerk of Court
                         Case 22-60043 Document                            Filed in TXSB on 05/26/22 Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-60020-cml
InfoW, LLC                                                                                                             Chapter 11
IWHealth, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-6                                                  User: ADIuser                                                               Page 1 of 2
Date Rcvd: May 24, 2022                                               Form ID: ntctran                                                           Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 26, 2022:
Recip ID                 Recipient Name and Address
db                     + IWHealth, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + InfoW, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + Prison Planet TV, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
aty                      Kyung Shik Lee, Kyung S. Lee PLLC, Pennzoil Place-Suite 1300, HOUSTON, TX 77002, UNITED STATES
cr                     + David Wheeler, et al., c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
intp                   + Insert Company Name, LLC, 1334 Brittmoore Rd, Ste 1327, Houston, TX 77043-4035
intp                   + Ray W. Battaglia, Law Offices of Ray Battaglia, PLLC, 66 Granburg Circle, San Antonio, TX 78218-3010
intp                   + Shelby A Jordan, Jordan & Ortiz PC, 500 N Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr                             Neil Heslin, et al.
intp                           Nina Khalatova
op                             W. Marc Schwartz

TOTAL: 3 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 26, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 24, 2022 at the address(es) listed below:
Name                               Email Address
Avi Moshenberg
                        Case 22-60043 Document                    Filed in TXSB on 05/26/22 Page 3 of 3
District/off: 0541-6                                          User: ADIuser                                                            Page 2 of 2
Date Rcvd: May 24, 2022                                       Form ID: ntctran                                                        Total Noticed: 8
                            on behalf of Creditor Neil Heslin et al. avi.moshenberg@mhllp.com, ana.sanchez@mhllp.com

Clifford Hugh Walston
                            on behalf of Creditor Neil Heslin et al. cliff@wbctrial.com, claudia@wbctrial.com;brittany@wbctrial.com

Ha Minh Nguyen
                            on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jayson B. Ruff
                            on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jon Maxwell Beatty
                            on behalf of Creditor Neil Heslin et al. max@beattypc.com,
                            1652348420@filings.docketbird.com,7671921420@filings.docketbird.com

Kyung Shik Lee
                            on behalf of Debtor Prison Planet TV LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Debtor InfoW LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Debtor IWHealth LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                            on behalf of Attorney Kyung Shik Lee kslee50@gmail.com Courtnotices@kasowitz.com

Melissa A Haselden
                            mhaselden@haseldenfarrow.com
                            haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com

Michael P Ridulfo
                            on behalf of Other Prof. W. Marc Schwartz mridulfo@krcl.com rcoles@krcl.com

R. J. Shannon
                            on behalf of Debtor IWHealth LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                            on behalf of Debtor InfoW LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                            on behalf of Debtor Prison Planet TV LLC rshannon@parkinslee.com,
                            rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

Randy W Williams
                            on behalf of Creditor David Wheeler et al. rww@bymanlaw.com, rww.trustee1@gmail.com;Bymanassociatespllc@jubileebk.net

Raymond William Battaglia
                            on behalf of Interested Party Ray W. Battaglia rbattaglialaw@outlook.com rwbresolve@gmail.com

Ryan E Chapple
                            on behalf of Creditor David Wheeler et al. rchapple@cstrial.com, aprentice@cstrial.com

Shelby A Jordan
                            on behalf of Interested Party Shelby A Jordan cmadden@jhwclaw.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 19
